Case 09-29123-mkn   Doc 1407-7   Entered 01/31/22 19:43:03   Page 1 of 6




                    EXHIBIT 7




     Deposition of Melani Schulte




                    EXHIBIT 7
Case 09-29123-mkn   Doc 1407-7   Entered 01/31/22 19:43:03   Page 2 of 6
Case 09-29123-mkn   Doc 1407-7   Entered 01/31/22 19:43:03   Page 3 of 6
Case 09-29123-mkn   Doc 1407-7   Entered 01/31/22 19:43:03   Page 4 of 6
  Case 09-29123-mkn               Doc 1407-7          Entered 01/31/22 19:43:03                    Page 5 of 6

ÓÛÔßÒ× ÍÝØËÔÌÛ                                                                                  Ü»½»³¾»® îïô îðîï
×² Î»æ ÓÛÔßÒ× ÍÝØËÔÌÛ ßÒÜ É×ÔÔ×ßÓ ÍÝØËÔÌÛ                                                                  ìçëî
                                                    Ð¿¹» ìç                                                         Ð¿¹» ëï
iïi i i i iÌØÛ É×ÌÒÛÍÍæi Ç»¿¸ò                                iïi i iÏòi ß²¼ ¼± §±« -»» °¿®¿¹®¿°¸ º·ª» ±º ¬¸» ´»¬¬»®á
iî ÞÇ ÓÎò ÝßÓÐÞÛÔÔæ                                           iîi i ißòi Ç»-ò
iíi i iÏòi Ü·¼ §±« »ª»® ®»½»·ª» ³±²¬¸´§ -¬¿¬»³»²¬- º®±³       iíi i iÏòi Ç±«ù®» ®»¯«»-¬·²¹ ·²º±®³¿¬·±²ô ·²½´«¼·²¹ ¬¸»
iì Í¸»´´°±·²¬ ®»º´»½¬·²¹ ¬¸» ½«®®»²¬ ¼«» ¼¿¬»ô ¬¸»            iì ³±-¬ ®»½»²¬ °»®·±¼·½ ¾·´´·²¹ -¬¿¬»³»²¬ò
ië ¿³±«²¬- ±©»¼ô ¬¸» ³±²¬¸´§ °¿§³»²¬-ô ¬¸·²¹- óó ²±®³¿´       iëi i ißòi Ç»-ò
iê °»®·±¼·½ ³±²¬¸´§ -¬¿¬»³»²¬ §±« ©±«´¼ ®»½»·ª» »ª»®§         iêi i iÏòi Í± §±«ù®» »¨°»½¬·²¹ ¬± ®»½»·ª» ¬¸»-» ³±²¬¸´§
ié ³±²¬¸ º®±³ ¿²§ -±®¬ ±º ´»²¼»®á                             ié -¬¿¬»³»²¬- º®±³ Í¸»´´°±·²¬á
ièi i ißòi ß²§ -±®¬ ±º ´»²¼»® ±® º®±³ Í¸»´´°±·²¬á             ièi i ißòi × ¾»´·»ª» × -¸±«´¼ ¸¿ª»ò
içi i iÏòi Ú®±³ Í¸»´´°±·²¬òi × ©¿- ¬®§·²¹ ¬± ¼»º·²»           içi i iÏòi Í± §±« ©»®» ²±¬ -«®°®·-»¼ ©¸»² §±« ®»½»·ª»¼
ïð -¬¿¬»³»²¬-ò                                                ïð ¬¸»-» ³±²¬¸´§ -¬¿¬»³»²¬- º®±³ Í¸»´´°±·²¬á
ïïi i ißòi Ñµ¿§òi × °«¬ º±®©¿®¼ »ª»®§¬¸·²¹ ¬¸¿¬ ×             ïïi i ißòi ×ù³ -«®°®·-»¼ ¬¸¿¬ × ²»ª»® ¹±¬ ¬¸»³ »ª»² ¿¬
ïî ®»½»·ª»¼ º®±³ §±« óó                                       ïî ¬¸¿¬ ¬·³» ·² îðïéò
ïíi i iÏòi Ë¸ó¸«¸ò                                            ïíi i iÏòi Ü·¼ §±« »ª»® ®»¯«»-¬ ¬¸¿¬ Í¸»´´°±·²¬ -¬±°
ïìi i ißòi óó ¬¸®±«¹¸ ¼·-½±ª»®§ô -± × µ²±© º®±³ ¬·³» ¬±       ïì -»²¼·²¹ §±« ³±²¬¸´§ -¬¿¬»³»²¬-á
ïë ¬·³»ô × ©±«´¼ -»²¼ ±ºº ¬¸» ´»¬¬»®- ¬± §±« ¿-µ·²¹ º±®       ïëi i ißòi Ò»ª»®ò
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ïè ¿¬¬±®²»§òi Ç±« ©±«´¼²ù¬ -»²¼ ¬¸»³ ¬± ³» ¼·®»½¬´§ò          ïè §±« ±² ¬¸» ©»´½±³» ´»¬¬»® ±® -·³·´¿® -¬¿¬»³»²¬á
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îíi i ißòi ß²¼ ×ù³ ¶«-¬ ´±±µ·²¹ ¿¬ ¬¸» -¬¿¬»³»²¬ ¸»®»ô        îí °´¿²á
îì »ª»² ¬¸» ·²¬®±¼«½¬±®§ ¸»®»ô ¬¸» ³±²¬¸´§ °¿§³»²¬            îìi i ißòi Ú®±³ Í¸»´´°±·²¬ô °®±¾¿¾´§ô ¾«¬ ×ù³ ²±¬ -«®»
îë ¿³±«²¬ô ·¬ù- ©®±²¹òi ß²¼ × º»»´ ·¬ù- ©®±²¹òi × ³»¿²ô       îë ©·¬¸±«¬ ´±±µ·²¹ ¿¬ ¬¸»³ò
                                                  Ð¿¹» ëð                                                             Ð¿¹» ëî
iï »ª»² ¬¸» º·®-¬ °¿¹» ±º ·¬ ·- ©®±²¹ô ¾»½¿«-» §±«            iïi i iÏòi Ñµ¿§ò
iî ·²½´«¼»¼ ¬¸» »-½®±©ô ©¸·½¸ ·- óó ¿¹¿·²ô ·- ³§ ¾»´·»º       iîi i ißòi Ú®±³ Ñ½©»²ô ²±òi ß²¼ × ¼±²ù¬ óó × ¼±²ù¬ µ²±©
ií ¬¸¿¬ ¬¸»®» ©¿- ²± »-½®±©ò                                  ií ·º × ¸¿ª» ¿ -¬¿¬»³»²¬ ¬¸¿¬ óó ·¬ù- °®±¾¿¾´§
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ièi i iÏòi Ñµ¿§òi Í± §±« ®»¯«»-¬»¼ óó §±« »¨°®»--´§           ièi i i i iÓÎò Ö×ÓÛÒÛÆæi × ©¿- ¶«-¬ ³«¬·²¹òi ß°±´±¹·»-ò
iç ®»¯«»-¬»¼ ¬¸»-» ³±²¬¸´§ -¬¿¬»³»²¬- º®±³ Í¸»´´°±·²¬á        içi i i i iÓÎò ÝßÓÐÞÛÔÔæi Ò± ©±®®·»-ò
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ïïi i iÏòi Ç±« ¿-µ»¼ ¬¸»³ ¬± -»²¼ ¬¸»³ ¬± §±«á                ïïi i iÏòi Í± ¼·¼ Í¸»´´°±·²¬ »ª»® -»²¼ §±« ¿²
ïîi i ißòi × ¼·¼òi × ¾»´·»ª» × ¸¿ª» ¿ ´»¬¬»® -¬¿¬·²¹          ïî ·²º±®³¿¬·±²¿´ -¬¿¬»³»²¬ ±® ³±²¬¸´§ -¬¿¬»³»²¬ ´·-¬·²¹
ïí ¬¸¿¬ ±ª»® ¿²¼ ±ª»® ¿¹¿·²ò                                  ïí ¿ ½«®®»²¬ ·²¬»®»-¬ ®¿¬» ±¬¸»® ¬¸¿² º·ª» °»®½»²¬á
ïìi i i i iøÛ¨¸·¾·¬ ïï ³¿®µ»¼ º±® ·¼»²¬·º·½¿¬·±²ò÷            ïìi i ißòi × ¼±²ù¬ ®»½¿´´òi ×ù¼ ¸¿ª» ¬± ´±±µ ¿¬ ¿´´ ¬¸»
ïë ÞÇ ÓÎò ÝßÓÐÞÛÔÔæ                                           ïë -¬¿¬»³»²¬-ò
ïêi i iÏòi ×ù³ ¹±·²¹ ¬± -µ·° ¿¸»¿¼ ¬± Û¨¸·¾·¬ ïï              ïêi i iÏòi ß²¼ ¼·¼ ¬¸» ³±²¬¸´§ -¬¿¬»³»²¬- ´·-¬ ¬¸»
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îð ¬± ¾» ¿ ´»¬¬»® º®±³ §±«ò                                   îði i iÏòi Ñµ¿§òi Í± »¿®´·»® §±« -¬¿¬»¼ ¬¸¿¬ §±« ¼·¼
îïi i i i iÜ± §±« ®»½±¹²·¦» ¬¸·- ¼±½«³»²¬á                    îï ²±¬ ³¿µ» ¿´´ ¬¸» °®·²½·°¿´ ¿²¼ ·²¬»®»-¬ °¿§³»²¬-
îîi i ißòi Ç»-ò                                               îî «²¼»® ¬¸» °´¿²å ·- ¬¸¿¬ ½±®®»½¬á
îíi i iÏòi ×¬ù- ¼¿¬»¼ Ó¿®½¸ îïô îðïéô ¿²¼ ·¬ù- -·¹²»¼         îíi i ißòi × -¬¿¬»¼ ¬¸¿¬ ¿º¬»® îðïíô ©¸»² × ¸¿¼ ²±
îì ¾§ §±«ò                                                    îì ¿¼¼®»-- º±® ©¸»®» ³§ °¿§³»²¬- ¸¿¼ ¾»»² -»²¬ ¬±
îëi i ißòi Ë¸ó¸«¸ò                                            îë °®»ª·±«-´§ ¿²¼ ½¿-¸»¼ô ¬¸¿¬ ¬¸±-» °¿§³»²¬- ©»®» ²±¬


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                                                                                            Û-¯«·®»Í±´«¬·±²-ò½±³                ÇÊ»®ïº
Case 09-29123-mkn   Doc 1407-7   Entered 01/31/22 19:43:03   Page 6 of 6
